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U.S. DISTRICT CO
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IN THE UNITED STATES DISTRICT COURT N DISTRICT ARKANSAS
FOR THE EASTERN DISTRICT OF ARKANSAS
JONESBORO DIVISION SEP - 3 2004
JAME
By: “MCCORMACK, CLERK
DEP CLERK
LARRY THOMAS PLAINTIFF
“otc Ficple.
This case assigned to District Ju eEigle Zo
O4Ccv 30
Vv: and to Magistrate Judge VON ¢ Ou NO. _ =e 4 CTE
VINCENT BAZILE, J. B. HAUER AND DEFENDANTS

UNTON PACIFIC RAILROAD COMPANY

COMPLAINT

Comes Larry Thomas, by and through his undersigned
lawyers, Rieves, Rubens & Mayton, and for his complaint,
alleges and states as foilows:

1, Plaintiff is Larry Thomas, a resident and citizen of
Wynne, Arkansas.

2. Vincent Bazile and J. B. Hauer (the "individual
defendants") are residents of the State of Arkansas. The
Union Pacific Railroad Company is a foreign corporation
authorized to do business in the state of Arkansas.

3. This action is brought pursuant to 42 U.S.C. &§ 1983
et seq. and the First, Fourth, Fifth, Sixth, Seventh, Eighth,
and Fourteenth Amendments to the United States Constitution.
This court has jurisdiction of this action under 28 U.S.C. §§
1331 and 1341 and the aforementioned constitutional and

statutory provisions.
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4. The individual defendants were at all times relevant
employees of the Union Pacific Railroad and were duly
authorized and acting under color of law.

5. This court has jurisdiction over each of the
defendants in this action, and venue is proper in this
district.

6. The individual defendants unlawfully procured the
arrest and detention of plaintiff when the facts known to them
would have caused any reasonable law enforcement officer not
to seek his arrest. In furtherance of their illegal arrest
and their denial of the civil rights of plaintiff, they
conducted a search of plaintiff's home in Wynne, Arkansas in
excess of that authorized by the warrant. They continued the
harm caused by their acts by causing plaintiff to be detained
and without his liberty for approximately four hours.

7. Defendants knew or should have known that plaintiff
had committed no crime but pursued his arrest and detention
for the purpese of promoting the economic interests of the
Union Pacific. As officers of the law, they are not permitted
to do the bidding of one person or entity, but in truth and in
fact they are paid by the Union Pacific, and their allegiance
is to the Union Pacific and not law enforcement.

@. The individual defendants caused the arrest of
plaintiff based upon their not disclosing to the state judge
all facts known to them which would have caused a reasonable

Magistrate not to issue a search warrant and warrant for
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arrest as well as causing a reasonable prosecutor not to seek
a warrant for arrest or a search warrant.

9, Plaintiff was falsely accused of theft, and he had to
hire lawyers to defend him in Marion, Arkansas.

19. The prosecution dismissed the charges against
plaintiff and the time for refiling them passed on July 18,
2003. Thus as a matter of law, no charges growing out of the
false arrest and detention of plaintiff can now be brought in
any court in Arkansas.

11. Plaintiff has suffered damages as a result of the
deprivation of his rights including, but not limited to, the
loss of his job, loss cf income, mental anguish, legal fees
for defending the false and spurious charges, and other
damages.

12. Union Pacific is aware that these police do its
bidding rather than obeying well settled principles of law and
is consciously indifferent to the constitutional harm caused
by these individual defendants.

13. Union Pacific was negligent in the hiring and
supervision of these individual defendants.

14. Union Pacific is vicaricusly liable for the acts of
these individual defendants.

15. A jury should be impaneled to hear and determine all
issues of fact triable to a jury.

16. The acts of the individual defendants call for the

imposition of punitive damages against all defendants.
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WHEREFORE PREMISES CONSIDERED, PLAINTIFF PRAYS:

1. For judgment against all defendants, jointly and
severally, for compensatory and punitive damages in an
undetermined amount but in excess of the minimum limits for
federal diversity jurisdiction.

2. For trial by jury.

3. For all other relief to which he may be entitled.

Respéctfully submitted,
R yah, BENS YTON

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